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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 KWAINE THOMPSON,
                               Plaintiff,
                                                                  22-CV-1458 (JPO)
                     -v-
                                                                        ORDER
 CITY OF NEW YORK, et al.,
                         Defendants.


J. PAUL OETKEN, District Judge:

       Defendants’ request that the Court extend the deadline to file a motion for summary

judgment until November 28, 2023, which is two weeks after the parties’ November 14, 2023

status conference, is GRANTED.

       The Clerk of Court is requested to mail a copy of this order to the plaintiff. The Clerk of

court is also requested to close the motion at ECF No. 76.

       SO ORDERED.

Dated: October 23, 2023
       New York, New York

                                             ____________________________________
                                                        J. PAUL OETKEN
                                                    United States District Judge
